         Case 3:18-cv-00988-AC         Document 1   Filed 06/05/18   Page 1 of 9




J. Ashlee Albies, OSB No. 051846
Email: ashlee@albiesstark.com
Albies & Stark LLC
210 SW Morrison St., Suite 400
Portland, Oregon 97204
Telephone: (503) 308-4770
Facsimile: (503) 427-9292

Jesse Merrithew, OSB No. 074564
Email: jesse@lmhlegal.com
Levi Merrithew Horst PC
610 SW Alder Street, Suite 415
Portland, Oregon 97205
Telephone: (971) 229-1241
Facsimile: (971) 544-7092

Attorneys for Plaintiff



                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON




STEVEN HAYES, as personal                       Case No.: 3:18-cv-00988
representative of the estate of,
QUANICE HAYES, deceased,
and VENUS HAYES,                                                    COMPLAINT
                                                             Civil Rights Violation
                      Plaintiffs,                                  Excessive Force
                                                           Substantive Due Process
                                                                 (42 U.S.C. § 1983)
       vs.
                                                           Oregon Tort Claims Act
                                                                  Wrongful Death

CITY OF PORTLAND, a municipal
corporation, and ANDREW HEARST,                               Jury Trial Demanded

                      Defendants.




Page 1 – COMPLAINT
            Case 3:18-cv-00988-AC          Document 1      Filed 06/05/18      Page 2 of 9




       Plaintiffs Steven Hayes and Venus Hayes, by and through their attorneys, J. Ashlee Albies

and Jesse Merrithew, hereby allege that:

                                      NATURE OF ACTION

       1.      This is a civil rights action brought pursuant to 42 U.S.C. § 1983 and ORS 30.265

by Steven Hayes and Venus Hayes (Plaintiffs). Steven Hayes is the appointed personal

representative of the estate of Quanice Hayes, and Venus Hayes was Quanice’s mother. On

February 9, 2017, Defendant Andrew Hearst, a police officer with the City of Portland, shot and

killed 17-year-old Quanice Hayes. The acts and omissions of Defendants violated Plaintiff’s

rights under the Fourth and Fourteenth Amendments to the United States Constitution. As a

result of Defendants’ acts and omissions, Plaintiffs suffered economic and noneconomic

damages. Plaintiffs are entitled to damages and an award of attorney’s fees and costs.

                                 JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction over Plaintiffs’ claims of violation of

federal constitutional rights pursuant to 28 U.S.C. §§ 1331(a) and 1343 because the causes of

action arise under 42 U.S.C. § 1983. This Court has jurisdiction over Plaintiffs’ pendent state law

claims under 28 U.S.C. § 1367.

       3.      Venue is proper in the District of Oregon pursuant to 28 U.S.C. § 1391(b) because

a substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in the

District of Oregon and because Defendants are subject to personal jurisdiction in the District of

Oregon.

                                     TORT CLAIM NOTICE

       4.      Prior to the institution of this action, Plaintiffs provided notice of this claim to all

necessary parties pursuant to ORS 30.275.


Page 2 – COMPLAINT                                                            LEVI MERRITHEW HORST PC
                                                                             610 SW Alder Street, Ste 415
                                                                                  Portland, Oregon 97205
            Case 3:18-cv-00988-AC           Document 1    Filed 06/05/18     Page 3 of 9




                                              PARTIES

       5.      Quanice Hayes died intestate. Steven Hayes is Quanice Hayes’ uncle. The

Multnomah County Circuit Court appointed him as personal representative of the estate of

Quanice Hayes on January 31, 2018. Steven Hayes is a resident of the state of Oregon.

       6.      Quanice Hayes was a seventeen-year-old boy when he was killed. He was a

resident of the state of Oregon at all relevant times.

       7.      Venus Hayes was Quanice Hayes’ mother and had sole legal custody over him.

She is a resident of the state of Oregon.

       8.      At all material times, Andrew Hearst was employed as a law enforcement officer

for the Portland Police Bureau, an entity of the City of Portland, Oregon acting under color of

state law. He is sued in his individual capacity.

       9.      At all material times the City of Portland was a political subdivision of the State

of Oregon. As a local governmental entity, the City of Portland is a person under 42 U.S.C. §

1983. At all material times, the City of Portland employed Defendant Hearst.

                                  GENERAL ALLEGATIONS

                                             Background

       10.     In 2012, the United States Department of Justice (“DOJ”) issued findings that the

City of Portland’s Police Bureau (“City”) was engaging in a pattern and practice of

unconstitutional excessive force against community members and identified deficiencies in the

City’s use of force policies, practices, training, and officer accountability. As a result, the DOJ

filed a lawsuit against the City, alleging this unconstitutional pattern and practice of excessive

force. The Settlement Agreement negotiated by the City and the DOJ included terms related to the




Page 3 – COMPLAINT                                                          LEVI MERRITHEW HORST PC
                                                                           610 SW Alder Street, Ste 415
                                                                                Portland, Oregon 97205
             Case 3:18-cv-00988-AC      Document 1       Filed 06/05/18     Page 4 of 9




City’s use of force policies, practices, and training, and enhancement of its data collection

practices.

       11.      In 2013, Defendant Hearst shot and killed Merle Hatch; Hatch was experiencing a

mental health crisis and was unarmed at the time. The City did not discipline Hearst for this

shooting.

       12.      From 2012 through the present, the Portland Police Bureau has revised its use of

force policies and trainings to emphasize de-escalation, in order to address the allegations of

excessive use of force articulated in the DOJ lawsuit.

       13.      The Portland Police Bureau has a history of disproportionate policing of African-

Americans, including stops, searches, and seizures of African-Americans at an elevated level

disproportionate to their presence in the population. The City is well aware of this history of

discriminatory policing. The City is also aware that their police officers wrongly perceive

African-Americans, and particularly young African-American men and boys, to pose a greater

threat of violence than other members of the community. Despite being aware of these well-

known biases, the City has not acted to correct them.

                                         Quanice Hayes

       14.      On February 9, 2017, at approximately 9:30 in the morning, Andrew Hearst fired

three rounds from his AR-15 rifle, killing Quanice Hayes.

       15.      At the time of the shooting, police officers were seeking a suspect in an alleged

armed robbery. Reports from witnesses, along with Quanice’s actions and statements when

interacting with police officers, would have led a reasonably well-trained police officer to believe

that Quanice may have been in some sort of mental health crisis. Despite this, neither Defendant




Page 4 – COMPLAINT                                                         LEVI MERRITHEW HORST PC
                                                                          610 SW Alder Street, Ste 415
                                                                               Portland, Oregon 97205
           Case 3:18-cv-00988-AC         Document 1    Filed 06/05/18     Page 5 of 9




Hearst nor any other member of the arrest team attempted to use any type of de-escalation

techniques.

       16.      At the time Defendant Hearst killed Quanice, Quanice was unarmed and posed no

threat to the officers or anyone else.

       17.      When the officers came upon Quanice, different police officers shouted

contradictory commands at him. He obeyed the commands of Officer Robert Wullbrandt, and

crawled on his hands and knees as ordered, coming to a stop when ordered to do so. Defendant

Hearst, while Officer Wulbrandt was ordering Quanice to crawl on his hands and knees, was

ordering Quanice to crawl on his knees with his hands in the air. Quanice bent forward to comply

with Officer Wullbrandt’s command and Defendant Hearst shot him.

       18.      No officer, including Defendant Hearst, ever saw Quanice with a firearm or

anything that looked like a firearm prior to using deadly force. Despite the presence of multiple

less than lethal force options immediately available, no other officer used any force against

Quanice.

       19.      After Defendant Hearst shot and killed Quanice Hayes, no firearm was recovered

in Hayes’ possession.

                                 FIRST CLAIM FOR RELIEF
              (Excessive Force – Violation of Fourth and Fourteenth Amendments)
                                  (Plaintiff Steven Hayes Only)

Count 1: Individual Liability of Andrew Hearst

       20.      As alleged above, Defendant Hearst’s use of force was objectively unreasonable

under the circumstances, constituted excessive force, and was an unreasonable and unjustifiable

use of deadly force.




Page 5 – COMPLAINT                                                       LEVI MERRITHEW HORST PC
                                                                        610 SW Alder Street, Ste 415
                                                                             Portland, Oregon 97205
           Case 3:18-cv-00988-AC         Document 1      Filed 06/05/18      Page 6 of 9




Count 2: Municipal Liability – Failure to Train

         21.   The City of Portland has a training policy for the apprehension of suspects

believed to be armed. That policy utilizes a team apprehension approach. Members of the team

have unique functions, including “lethal cover,” “non-lethal force,” and “arrest.” Defendant

Hearst was acting as the lethal cover officer in the intended apprehension of Quanice Hayes.

         22.   In order to avoid killing people who are attempting to comply with officer

commands, it is essential that the City of Portland train officers to work together so that only one

officer is giving clear, consistent commands to the suspect, and to develop and execute a plan to

take the suspect into custody as safely as possible.

         23.   The City of Portland’s training on the team approach for the apprehension of

suspects places the suspect at extreme risk of being shot and killed during the apprehension,

because the lethal cover officer keeps an assault rifle trained on the suspect and will shoot and

kill the suspect if he perceives the suspect is not following the commands of the team.

         24.   The City of Portland failed to train officers, including Defendant Hearst, his

commanding officer, and all officers present for the shooting as described in paragraph 22. As a

result, two officers of the apprehension team were shouting contradictory commands at Quanice

Hayes, making it impossible for him to comply with both. This was a proximate cause of his

death.

                             SECOND CLAIM FOR RELIEF
 (Interference With Familial Relations – Violation of Fourteenth Amendment, Substantive
                                        Due Process)
                               (Plaintiff Venus Hayes Only)

         25.   Defendants violated the Fourth Amendment rights of Quanice Hayes as alleged in

the First Claim for Relief, resulting in the death of Quanice Hayes.



Page 6 – COMPLAINT                                                          LEVI MERRITHEW HORST PC
                                                                           610 SW Alder Street, Ste 415
                                                                                Portland, Oregon 97205
          Case 3:18-cv-00988-AC           Document 1       Filed 06/05/18      Page 7 of 9




       26.      The actions of defendants permanently deprived Venus Hayes of the love, care,

companionship, and protection of her son.

       27.      The conduct of the defendants, shooting an unarmed 17-year-old boy in the head

with an assault rifle while he was on his knees complying with commands, shocks the conscience

of the community.

       28.      The conduct of the defendants violated Venus Hayes’ substantive due process

right to her relationship with her son.

                               THIRD CLAIM FOR RELIEF
                       (Wrongful Death – Or. Rev. Stat. § 30.020 et. seq.)
                                (Plaintiff Steven Hayes Only)
Count 1: Battery

       29.      Andrew Hearst’s use of force against Quanice Hayes was intentional.

       30.      Andrew Hearst’s use of force against Quanice Hayes was excessive under the

circumstances described above.

Count 2: Negligence

       31.      The City of Portland’s failure to train police officers to use apprehension

procedures that give clear, uncontradicted instructions to those they want to arrest creates a

foreseeable risk of serious harm to the individuals they choose to arrest.

       32.      The City of Portland’s failure to require/train officers to develop and execute

plans for taking a suspect into custody that will minimize the risk of harm to both the suspect and

the officers is unreasonable.

       33.      These failures to train, or failure to ensure that training is followed, creates an

obvious risk of death to citizens who are attempting to follow police officer commands and is

unreasonable.

       34.      These failures were a cause of Quanice Hayes’ death.

Page 7 – COMPLAINT                                                            LEVI MERRITHEW HORST PC
                                                                             610 SW Alder Street, Ste 415
                                                                                  Portland, Oregon 97205
          Case 3:18-cv-00988-AC          Document 1       Filed 06/05/18      Page 8 of 9




       35.      Andrew Hearst’s failure to listen and recognize that officers were giving

contradictory commands to Quanice Hayes, and that Hayes was complying with one of the

officers, while Hearst had an assault rifle pointed at Hayes’ head created a foreseeable risk of

serious harm to Quanice Hayes.

       36.      The officers on scene’s failure to develop and execute a plan to minimize the risk

to the suspect and officer to take the suspect into custody created a foreseeable risk of serious

harm to Quanice Hayes.

       37.      This failure to exercise reasonable care creating a custody plan, in listening to the

commands being shouted at Quanice Hayes, and in observing that Hayes was complying with

one officer’s commands, created an obvious risk of death to Quanice Hayes and was

unreasonable.

       38.      This failure was a cause of Quanice Hayes’ death.

                                            DAMAGES

       39.      As a direct and proximate result of the conduct of the Defendants, Plaintiffs

suffered economic and noneconomic damages, including:

                   a. Medical services, burial services, and memorial services;

                   b. Loss of future earning capacity;

                   c. Venus Hayes’ loss of society, companionship, and services of her child;

                   d. Venus Hayes’ pain and suffering for the loss of her child;



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Page 8 – COMPLAINT                                                           LEVI MERRITHEW HORST PC
                                                                            610 SW Alder Street, Ste 415
                                                                                 Portland, Oregon 97205
          Case 3:18-cv-00988-AC         Document 1       Filed 06/05/18     Page 9 of 9




                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray that this Court will enter a Judgment in their

favor, and against Defendants, as follows:

       A. Grant Plaintiffs compensatory damages against Defendants in an amount to be

       determined at trial;

       B. Award Plaintiffs reasonable costs, expenses, and attorney’s fees;

       C. Grant Plaintiffs such further relief as this Court deems just and equitable under the

       circumstances.

                                       JURY DEMAND

       Plaintiff hereby demands a jury trial.

DATED this 5th day of June, 2018

                                                By:    /s Ashlee Albies
                                                J. Ashlee Albies, OSB No. 051846
                                                Jesse Merrithew, OSB No. 074564
                                                Attorneys for Plaintiff




Page 9 – COMPLAINT                                                         LEVI MERRITHEW HORST PC
                                                                          610 SW Alder Street, Ste 415
                                                                               Portland, Oregon 97205
